                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                    (Southern Division)
_________________________________
SHANNON MULLEN                    )
                                  )
           Plaintiff,             )
                                         )
      v.                                 )       Case No. 7:23-cv-00117-FL
                                  )
ISAAC KRAMMES, in his             )
individual capacity,              )
                                  )
           Defendant.             )
_________________________________ )

                            NOTICE OF SETTLEMENT

      The Parties hereby notify the Court that a settlement has been reached on all of

Plaintiff’s claims against Defendant Isaac Krammes. Plaintiff anticipates she will file a

stipulation of dismissal of all claims against Defendant Isaac Krammes within twenty-one

(21) days of today.



This the 12th day of March, 2025.                Respectfully submitted,

EDWARDS BEIGHTOL, LLC                            HALL BOOTH SMITH PLLC

/s/ Catharine E. Edwards                         /s/ Scott D. MacLatchie
Catharine E. Edwards                             Scott D. MacLatchie
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Attorney for Plaintiff Shannon Mullen            Attorney for Defendant Isaac Krammes




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                           CERTIFICATE OF SERVICE

       I hereby certify that on March 12, 2025, I electronically filed on behalf of the
Plaintiffs the foregoing NOTICE OF SETTLEMENT with the Clerk of the Court using
the CM/ECF system, which will send notification of such filing to all counsel who have
entered an appearance in this matter.


This the 12th day of March, 2025.       /s/ Catharine E. Edwards
                                        Catharine E. Edwards
                                        N.C. State Bar No. 52705
                                        Edwards Beightol, LLC
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                                        Raleigh, NC 27628
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